Case 0:09-cv-60363-CMA Document 29 Entered on FLSD Docket 11/16/2009 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 09-60363–CIV-ALTONAGA/Brown

  JOEL D. LUCOFF,

         Plaintiff,

  vs.

  FIRST FINANCIAL ASSET
  MANAGEMENT, INC.;
  and FFPM CARMEL
  HOLDINGS, I, LLC,

        Defendants.
  _________________________/

                                               ORDER

         THIS CAUSE came before the Court on the parties’ Joint Stipulation for Dismissal with

  Prejudice [D.E. 28], filed on November 13, 2009. The Court being fully advised, it is hereby

         ORDERED AND ADJUDGED that this case is DISMISSED WITH PREJUDICE. Each

  party shall bear its own fees and costs except as otherwise agreed by the parties.

         DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of November, 2009.



                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE

  cc: counsel of record
